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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11   PHILIP JONES,                   ) Case No. CV 13-7792-JWH (JPR)
                                     )
12                     Petitioner,   )
                                     )          J U D G M E N T
13                v.                 )
                                     )
14   KELLY SANTORO, Warden,          )
                                     )
15                     Respondent.   )
                                     )
16
17        Pursuant to the Order Accepting Findings and Recommendations
18   of U.S. Magistrate Judge,
19        It is hereby ORDERED, ADJUDGED, and DECREED that the Second
20   Amended Petition is DENIED and that this action is DISMISSED with
21   prejudice.
22        IT IS SO ORDERED.
23
24   DATED: November 17, 2021
                                      JOHN
                                       OHN W. HOLCOMB
                                      JO
25                                    U.S. DISTRICT JUDGE
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